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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                               :(STERN DISTRICT OF VIRGINIA




       (/,=$%(7+6,1(6HWDO                          )
            3ODLQWLIIV                                 )      Case No. :1-C9-
            v.                                          )
                                                        )      -XGJH1RUPDQ.0RRQ
       -$621.(66/(5HWDO,                            )
                                                        )
             DefendantV                                )
                   75,$/(;+,%,7/,672)'()(1'$176.(66/(5'$0,*2
                                  $1','(17,7<(9523$

EXHIBIT                                            EXHIBIT
  NO.

   A        3')6RFLDOLVW5LIOH$VVRFLDWLRQ3XW%ORRGLQWKHLU0RXWKV
   B        3')$QWLIDVWULNHVEDFNRQ

   &        3')6RFLDO0HGLD7KUHDW
   '        3')6HDUFK:DUUDQW$IILGDYLW0RHUV
   (        3')6HDUFK:DUUDQW$IILGDYLW0\OHVHWDO

   )        3')6HFRQG6HDUFK:DUUDQW$IILGDYLW0\OHVHWDO

  *        3')6RFLDO0HGLD7KUHDW
   +        3')6RFLDO0HGLD7KUHDW

   ,        3')%HUNHOH\5LRW

   -        3')&DPSXV6SHHFK5LRW

   .        3')7UXPS,QDXJXUDWLRQ5LRW

    /      3')$UPHG&RXQWHUSURWHVWHURQ
   0       3')%UHQW%HWWHUOH\RQ
   1       3')6HFRQG3LFWXUH%HWWHUOH\RQ
 2       3')&RXQWHUSURWHVWHUZLWKKDQGJXQRQ
   3      3')3ODLQWLII:LVSHOZH\ZLWKDQWLIDVFLVWRQ
   4       3')FRXQWHUSURWHVWHUZLWKZHDSRQRQ
    5      3')FRXQWHUSURWHVWHUZLWKZHDSRQRQ
    6      3')FRXQWHUSURWHVWHUZLWKJXQRQ
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  7    3')6RFLDO0HGLD7KUHDW
  8    3')6RFLDO0HGLD7KUHDW
  9    3')6RFLDO0HGLD7KUHDW
  :    3')6RFLDO0HGLD7KUHDW
  ;    3')6RFLDO0HGLD7KUHDW
  <    3')6RFLDO0HGLD7KUHDW
   =   3')6RFLDO0HGLD7KUHDW
   $$   3'))HGHUDO$JHQF\'RFXPHQW
   %%   3'))HGHUDO$JHQF\'RFXPHQW
   &&   3'))HGHUDO$JHQF\'RFXPHQW
   ''   3').HVVOHUSXEOLFFRPPXQLFDWLRQ
 ((   3')'DPLJRSXEOLFFRPPXQLFDWLRQ
   ))   3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ

 **     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ
 ++     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ
 ,,   3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ
 --    3')3LFWXUHRI'DPLJR
 ..     3')PHGLDSXEOLFDWLRQ
 //     3')PHGLDSXEOLFDWLRQ
 00     9LGHRPHGLDIRRWDJH$XJ$XJ
 11     3')PHGLDSXEOLFDWLRQ
  22    9LGHR5LFKDUG6SHQFHU


  33    3')6RFLDO0HGLD7KUHDW
  44    3')6RFLDO0HGLD7KUHDW
  55    3')5HSRUWHU6RFLDO0HGLD
  66    3')$QWLIDVFLVW3XEOLF&RPPXQLFDWLRQ
  77    3')$QWLIDVFLVW3XEOLF&RPPXQLFDWLRQ
  88    3')0HGLD5HSRUW
  99    3')0HGLD5HSRUW
  ::    9LGHR$VVDXOWRQ$XJXVW
  ;;    $XGLR$XJUDOO\SODQQLQJ
  <<    9LGHR0HGLDIRRWDJH$XJXVW
  ==    3')6RFLDO0HGLD7KUHDW
  $$$   3')6RFLDO0HGLD7KUHDW
  %%%   3')6RFLDO0HGLD7KUHDW
  &&&   3')$QWLIDVFLVW6RFLDO0HGLD3RVW

  '''   3')$QWLIDVFLVW6RFLDO0HGLD3RVW
  (((   9LGHR$QWLIDVFLVWVWDWHPHQWWRSXEOLFFRPPLVVLRQ

  )))   3')6RFLDO0HGLD7KUHDW
 ***    3')6RFLDO0HGLD7KUHDW



                                               2
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  +++     3')6RFLDO0HGLD7KUHDW
 ,,,   9LGHR&RQJUHJDWH& YLOOH
  ---    3')&RQJUHJDWH& YLOOH

 ...      3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ
  ///     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ

  000     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ
  111     9LGHR$XJXVW$VVDXOW
 222     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ
  333     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ

  444     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ
  555     3')$QWLIDVFLVWSXEOLFFRPPXQLFDWLRQ

  666     3')6RFLDO0HGLD7KUHDW
  777     3')3LFWXUH$QWLIDVFLVWVRQ$XJXVW
  888     3')3LFWXUH$QWLIDVFLVWVRQ$XJXVW
  999     9LGHR$QWLIDVFLVWVILUHDUPVWUDLQLQJ
  :::     9LGHR3ODLQWLII:LVSHOZH\
  ;;;     3')6RFLDO0HGLD7KUHDW
  <<<     3')DQWL:KLWHYLROHQFHSUH$XJXVW
  ===     9LGHRDQWL:KLWHYLROHQFHSUH$XJXVW
  $$$$    3')6RFLDO0HGLD7KUHDW
  %%%%    3')6RFLDO0HGLD7KUHDW
 &&&&    3')$QWLIDVFLVWSXEOLFVWDWHPHQW
  ''''    9LGHR(\HZLWQHVVDFFRXQW$XJXVW /LQGEHFN
  ((((    'LVFRUG QXPHURXV
  ))))    (OHFWURQLFDOO\6WRUHG,QIRUPDWLRQ QXPHURXV
  ****    )DFHERRN&KDWSODQQLQJIRU$XJ
  ++++    +HDSK\5HSRUW

   ,,,, 6RFLDO0HGLD&KDW
  ----  &ULPLQDOGRFNHW0DVVH\
  .... &ULPLQDOGRFNHW.HHQDQ

  //// &ULPLQDOGRFNHW0LQWRQ
 0000 ,QGLFWPHQW%HWWHUOH\
  1111 &RQYLFWLRQ%HWWHUOH\

  2222    $XGLR2\ROD
  3333    9LGHR6LQHV$XJXVW
  4444    'URQH)RRWDJH
  5555    9LGHR$XJWRUFKPDUFK



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    Defendants reserve the right to amend this list in light of any new information developed

    before or during trial.

                                                                Respectfully Submitted,

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                                                                Trial Attorneys for Jason Kessler,
                                                                Nathan Damigo, and Identity
                                                                Evropa


                                  CERTIFICATE OF SERVICE

    I certify the above was served on September 14, 2021 on all ECF participants and that parties
    requiring service by other means were served as follows:


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